Case 3:19-cv-01537-BEN-JLB Document 22-3 Filed 12/06/19 PageID.215 Page 1 of 11




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14
                              UNITED STATES DISTRICT COURT
15
16                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
     JAMES MILLER, et al.,                            Case No. 3:19-cv-01537-BEN-JLB
18
                                                      Hon. Roger T. Benitez
19                        Plaintiffs,                 Magistrate Hon. Jill L. Burkhardt
20        vs.                                          DECLARATION OF PLAINTIFF
                                                       WENDY HAUFFEN IN SUPPORT OF
21
   XAVIER BECERRA, in his official                     PLAINTIFFS’ MOTION FOR
22 capacity as Attorney General of                     PRELIMINARY INJUNCTION
23 California, et al.,
                                                        Complaint filed: August 15, 2019
24                                                      Amended Complaint filed:
                          Defendants.
25                                                      September 27, 2019
26                                                     Date: Thursday, January 16, 2020
27                                                     Time: 10:00 a.m.
                                                       Department: Courtroom 5A (5th floor)
28


         DECLARATION OF PLAINTIFF WENDY HAUFFEN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO. 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 22-3 Filed 12/06/19 PageID.216 Page 2 of 11




 1                        DECLARATION OF WENDY HAUFFEN
 2 I, Wendy Hauffen, declare as follows:
 3       1. I am an adult resident of the County of San Diego, California, and am a named
 4 plaintiff in the above matter. I have personal knowledge of the facts stated herein, and
 5
   if called as a witness, I could competently testify to these facts.
 6
         2. This declaration is executed in support of plaintiffs’ motion for a preliminary
 7
   injunction.
 8
 9       3. I am not prohibited from owning firearms under federal or state law. In fact, I

10 currently hold a license to carry a concealed weapon (CCW), issued by my local county
11 sheriff, that requires a background check, good cause, and good moral character in order
12 to obtain. Under state law, this CCW must be renewed every two years.
13       4. I am the lawful owner of a semi-automatic, centerfire rifle that is specifically
14
     described as an AR-15 pattern rifle. However, this firearm does not have any of the
15
     features listed in Penal Code § 30515(a)(1), (e.g., a pistol grip (§ 30515(a)(1)(A)), a
16
     thumbhole stock (§ 30515(a)(1)(B)), a telescoping stock (§ 30515(a)(1)(C)), a grenade
17
     launcher/flare launcher (§ 30515(a)(1)(D)), a flash suppressor (§ 30515(a)(1)(E)), or a
18
19 forward pistol grip (§ 30515(a)(1)(F))). Thus, because my rifle does not have any of the
20 statutorily-described features, this rifle is not considered to be an “assault weapon”
21 under section 30515(a)(1).
22       5. I rendered this firearm in this “featureless” configuration (see, e.g., 11 CCR
23 § 5471(o)) in order to lawfully avoid having to register the firearm as an “assault
24
   weapon” pursuant to Pen. Code § 30900(b). I would not have otherwise purchased these
25
   “featureless” parts for my firearm and installed them on to my firearm if I was not
26
   required to do so, because I prefer my firearm to have a number of the listed features in
27
28 penal code section 30515(a). However, to have these features, I would have had to
                                                    -1-
            DECLARATION OF PLAINTIFF WENDY HAUFFEN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                             (CASE NO. 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 22-3 Filed 12/06/19 PageID.217 Page 3 of 11




 1 register my firearm as an “assault weapon.” Registering would effectively prohibited
 2 me from transferring or passing along the firearm to my heirs or selling it to anyone
 3 else. Eventually, I do plan on either passing down my firearms to my heirs or selling my
 4
   firearms if the need should ever arise.
 5
         6. I wish to continue to lawfully possess this firearm, and to reattach some or all of
 6
   the § 30515(a)(1) features listed above, but fear that I would be subject to arrest and/or
 7
   prosecution under Pen. Code §§ 30600 (for manufacturing, transporting, or transferring
 8
 9 an “assault weapon”), or 30605 (for possessing an “assault weapon”).
10       7. By reattaching some or all of the features described by 30515(a)(1) to my
11 firearm, or acquiring additional firearms that bear some or all of these features, I would
12 possess and therefore desire to possess ordinary and standardized semiautomatic,
13 centerfire firearms with listed features, like the AR-15, that are commonly and lawfully
14
     held, and used lawful purposes, in many other parts of the country.
15
         8. As a female firearms trainer who specializes in training other women in the
16
     proficiency of arms and self-defense, I find the many semiautomatic, centerfire firearms
17
18 with listed features, like the AR-15 rifle, to be well-suited to women shooters, because
19 of its relatively light weight and because it can easily be customized to accommodate
20 smaller shooters. In particular, the collapsible/telescoping stock which is common on
21 most AR-15 pattern rifles (and specifically prohibited by Pen. Code § 30515(a)(C))
22 makes it an ideal rifle with which to instruct and train women, and for women to own
23
   and use for self-defense and other purposes. Additionally, I prefer to have other
24
   ergonomic features on my firearm like a pistol grip or forward vertical grip to assist in
25
   controlling the firearm and ensuring accuracy while shooting. Also, the ability to use
26
27 standardized 30-round magazines and low recoil ammunition are some other reasons
28 why I, as well as many of my students, prefer semiautomatic, centerfire firearms with
                                                     -2-
             DECLARATION OF PLAINTIFF WENDY HAUFFEN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                              (CASE NO. 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 22-3 Filed 12/06/19 PageID.218 Page 4 of 11




 1 listed features, like the AR-15 rifle. In the firearms and training communities, this is a
 2 widely-held and accepted understanding. As an example, attached hereto as Exhibit 1
 3 is a recent article entitled, “Female Gun Owners: We Prefer the AR-15” published at the
 4
   Washington Free Beacon on November 10, 2019. As female a firearms instructor, I
 5
   agree with the sentiments expressed in this article.
 6
         9. For these reasons, it is therefore and further my desire to obtain and acquire
 7
   additional semiautomatic, centerfire firearms, like AR-15 pattern firearms, that either
 8
 9 have some or all of the features listed in Pen. Code § 30515(a)(1). Such firearms would
10 also include AR-15 pistols, which contain many of the same features listed above, and
11 additional features described by § 30515(a)(4)(A)-(D).
12       10. I also own a standard Sig Sauer P239 9mm semiautomatic pistol. I use this
13 firearm when I teach firearms classes and shoot recreationally at the range. I also carry
14
   this pistol in public as it is one of the listed firearms on my concealed weapons permit. I
15
   wish to be able to replace the standard barrel in my pistol with a threaded barrel that
16
   would allow me to attach either a flash suppressor or a muzzle brake to my firearm. The
17
18 muzzle brake would assist my accuracy and control while shooting in my firearm’s
19 classes and recreational shooting. I would use a flash suppressor when carrying my
20 pistol at night to help ensure that I would not be blinded by the muzzle flash of the gun
21 if I were to ever have to use it in self-defense. However, regardless of what attachments
22 I attach to the barrel, merely installing a threaded barrel would make my pistol an
23
     assault weapon and subject me to severe criminal penalties.
24
         11. Due to California’s assault weapons ban, I am prohibited from acquiring and
25
     using common, everyday semiautomatic firearms with listed features. This prohibition
26
27 prevents me from exercising my Second Amendment right to acquire, own, and possess,
28 common firearms for various lawful purposes like self defense. But for California’s
                                                     -3-
             DECLARATION OF PLAINTIFF WENDY HAUFFEN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                              (CASE NO. 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 22-3 Filed 12/06/19 PageID.219 Page 5 of 11




 1 assault weapons ban, I would re-configure my currently possessed firearms and would
 2 also acquire additional firearms that would otherwise be classified as “assault
 3 weapons.”
 4
        12. Accordingly, and for these reasons, I respectfully ask that the Court grant
 5
   preliminary injunctive relief, enjoining enforcement or application of Penal Code
 6
   sections 30515(a) and (b), 30600, 30605, 30800, 30910, 30915, 30945, 30950, 31000,
 7
   and 31005, as well as Title 11, California Code of Regulations §§ 5460 and 5471, to the
 8
 9 extent that the definition of “assault weapon” is based upon the characteristics of Pen.
10 Code § 30515(a)(1) and (2), against Plaintiffs on an as-applied basis, and against all
11 similarly situated persons.
12       I declare under penalty of perjury that the foregoing is true and correct. Executed
13 on December 6, 2019.
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                                                    -4-
            DECLARATION OF PLAINTIFF WENDY HAUFFEN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                             (CASE NO. 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 22-3 Filed 12/06/19 PageID.220 Page 6 of 11




1                                         EXHIBITS
                                      TABLE OF CONTENTS
2
3    Exhibit     Description                                                              Page(s)
4       1        “Female Gun Owners: We Prefer the AR-15,”                               0001-0005
5                Washington Free Beacon, November 2019
6
7
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                                                    -5-
            DECLARATION OF PLAINTIFF WENDY HAUFFEN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                             (CASE NO. 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 22-3 Filed 12/06/19 PageID.221 Page 7 of 11




            EXHIBIT "1"




                                   Exhibit 1
                                     0001
   Case 3:19-cv-01537-BEN-JLB Document 22-3 Filed 12/06/19 PageID.222 Page 8 of 11
                       SUBSCRIBE TO OUR MORNING BEACON NEWSLETTER

                         SUBSCRIBE TO OUR BEACON EXTRA NEWSLETTER




Female Gun Owners: We Prefer the AR-15




                                               Courtney Manwaring looks over an AR-15 / Getty Images




Stephen Gutowski - NOVEMBER 10, 2019 5:00 AM

In the aftermath of a recent Florida self-defense shooting, female gun owners
argued that the AR-15 provides speci c advantages to women for home defense,
vehemently rejecting the views of gun-control activists who insist the rearm is
unnecessary.

Speaking with the Washington Free Beacon on Friday, ve female rearm owners
and advocates said the AR-15 platform offers several features that are ideal for
women speci cally. Robyn M. Sandoval, executive director of A Girl & A Gun
Women's Shooting League, said the ri e is both more effective and safer for female
shooters.


                                         Exhibit 1
                                           0002
   Case 3:19-cv-01537-BEN-JLB Document 22-3 Filed 12/06/19 PageID.223 Page 9 of 11
"ARs are an excellent choice for women for home defense," Sandoval told the Free
Beacon. "The platform is relatively lightweight and easy to hold and customize so
that the rearm ts her body correctly. Having a ri e that is the right size for the
shooter makes it more comfortable to shoot and therefore more accurate and
safer."

Many Democratic politicians, including 2020 frontrunner Joe Biden, have long
decried the AR-15 as both dangerous and an impractical or unnecessary rearm for
civilians, especially women. But the female rearm owners the Free Beacon spoke
to rejected the logic of these pro-gun-control men.

"AR-15s are perfect for women," Mary Chastain, a writer and gun owner, said.
"Despite the size, they are lightweight and have hardly any kickback. This allows us
to aim well and shoot the target where we want to."

Dana Loesch, a nationally syndicated radio host and gun-rights activist who has
faced threats to her safety throughout her career, said she picks an AR-15 when it
comes to home defense.

"I was always taught in training that your pistol is what you use to get to your ri e,
and the AR-15 is what I choose to use," Loesch told the Free Beacon.

The customizability of the ri e is a big selling point for women, competitive shooter
and trainer Julie Golob said.

"The AR platform can be a useful and effective option for women when it comes to
defending themselves and their property," she told the Free Beacon. "Starting with
the fact that the length of pull can be adjusted easily, unlike ri es with xed stocks,
the AR can quickly become custom t to its user. The pistol grip, combined with
quick access to the safety and other controls, makes this platform one a woman can
con dently control."

"I can choose my trigger, hand guard, barrel length, grip," Dianna Muller, a former
police of cer and head of the gun-rights group DC Project, added. "I can put a light,
laser, etc. I call it the Mr. Potato Head for the gun connoisseur!"

The testimony of these women contradicts Biden, who has repeatedly claimed that
AR-15s are hard to use and ineffective compared with shotguns. In 2013, he said he
had advised his own wife to use a double-barrel shotgun instead of an AR-15.

"I said, ‘Jill, if there's ever a problem, just walk out on the balcony here, walk out and
put that double-barrel shotgun and re two blasts outside the house,'" Biden said in
an interview with Parents Magazine. "You don't need an AR-15—it's harder to aim.
                                         Exhibit 1
                                           0003
    Case 3:19-cv-01537-BEN-JLB Document 22-3 Filed 12/06/19 PageID.224 Page 10 of 11
It's harder to use, and in fact you don't need 30 rounds to protect yourself. Buy a
shotgun! Buy a shotgun!"

Late last month, a heavily pregnant mother did exactly what Biden warned against
to defend her family. She used an AR-15 to fend off two armed men who were
attacking her husband and daughter in their Florida home.

The women who spoke with the Free Beacon disagreed with Biden's assertions that
AR-15s are not necessary. Loesch said she was competent with shotguns, but has
found the AR-15 is simply a better option.

"The 12 gauge is an excellent home defense gun, too, but the collateral consideration
does affect my decision there (frangible ammo is an option)," Loesch told the Free
Beacon. "AR-15s are easy to shoulder, lightweight, the low recoil makes it easier to
maintain target acquisition, and the ergonomics are great. I can access everything
without compromising a defensive stance. I also have more rounds with an AR-15."

Chastain also said that she nds the AR-15 easier than many other rearms to use.

"You can use it with one hand, which helps me," she said. "My entire left side is
handicapped, caused by brain trauma at birth. There are many guns I cannot use.
The AR is perfect because I can use the functions with only my right hand. The
lightness of the gun makes it easy for my handicapped left arm and hand to hold it."

The women said the availability of magazines with more ammunition capacity than
the double-barrel shotguns Biden highlighted—which hold only two rounds—is a
signi cant advantage of the AR platform, as is the variety of ammunition types.

"Standard capacity magazines create a reduced chance to have to fumble to
exchange mags under stress," Golob said.

"The ballistics of defensive ammunition prevent over-penetration, and standard-
capacity magazines hold 30 rounds, which is more than a shotgun or pistol,"
Sandoval said.

The women who spoke to the Free Beacon stressed that, while they believe the AR-
15 provides them certain advantages over other guns, women are more than able to
become skilled with shotguns, handguns, or any other rearm.

"There are pros and cons to any self-defense tool," Golob said. "Practice on the range
and training gun-handling skills, whether it’s a ri e, pistol, or shotgun, is key. I feel
that the best home defense option for a woman is the one she is most comfortable
with and that she can produce the best results."

                                         Exhibit 1
                                           0004
  Case 3:19-cv-01537-BEN-JLB Document 22-3 Filed 12/06/19 PageID.225 Page 11 of 11
Sandoval encouraged women to "train extensively on any rearm they choose to use
to protect their families" but also noted AR-15 classes are one of the most commonly
available—one of its primary advantages in her opinion.

Some of the women also view the imposing nature and reputation of the AR-15 as a
bonus feature.

"I also like the fact that they're scary looking," Chastain said. "A man breaks into my
house, I don't mind using a scary looking weapon to defend myself."

"Ultimately, I want the meanest, most manageable thing I can get," Loesch said.




                                         Exhibit 1
                                           0005
